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TARA K. MCGRATH

United States Attorney
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San Diego,
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Attorneys for Plaintiff
United States of America

UNITED STATES OF AMERICA,

Plaintiff,
Vv.
NATHAN ALDO BALL (2);
Defendant

through its counsel,

Marietta [, Geckos,
NATHAN ALDO BALL,
for defendant, as follows:
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

IT IS HEREBY AGREED between the PAINE ES, UNITED STATES OF AMERICA,
Tara kK,
Assistant United States Attorney,

with the advice and consent of Meagan Nettles,

FILED

NOV 222023 |

CLERK, US. DIS TRICT COURT
SOUTHERN DISTRICT OF CY He :

2S 6toy(TS-ATe

Case No, i Say) ANSZ,

PLEA AGREEMENT

(Alternatives to Prison
Solutions Diversion Program)

McGrath, United States Attorney, and
and defendant,

counsel

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I
THE PLEA
A. THE CHARGE
Defendant agrees to waive Indictment and plead guilty to Count 1

of a single-count Information charging defendant with:

On or about November 12, 2023, within the Southern District

of California, defendants, OSCAR DAVID PICHARDO and NATHAN

ALDO BALL, knowing and in reckless disregard of the fact that

an alien, namely, FABIAN RUFINO ABUNDES RODRIGUEZ, had come

to, entered and remained in the United States in violation of

law, did knowingly transport and move said alien within the

United States by means of transportation and otherwise in

furtherance of such violation of law; in violation of Title

8, United States Code, Section eo dcte sats) and (v) (II).

B. ALTERNATIVES TO PRISON SOLUTIONS DIVERSION PROGRAM

Defendant acknowledges that defendant is entering this plea
pursuant to the Alternatives To Prison Solutions Diversion (APSD)
Program (the APSD Program) and incorporates the terms and conditions
of the “APSD Program Contract” into this plea agreement.

Upon defendant’s plea of guilty and accompanying factual basis, the
parties will request that the Court defer entry of judgment and
sentencing for a period of at least 12 months, although the period of
diversion may be extended to up to 24 months pursuant to the APSD Program
Contract.

The parties jointly recommend that during the period of diversion,

defendant:

1. Shall remain under the supervision of United States

pretrial Services and continue to abide by the terms and

conditions of pretrial release and the “APSD Program
Contract”; and,

2. Shall not violate any federal, state or local law.

At the end of the period of diversion, if defendant has complied

with the above conditions, and successfully completed the APSD ee
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the United States will move to dismiss the Information with prejudice,
Conversely, if during the period of diversion, defendant either (1)
voluntarily withdraws from the APSD Program or (2) is terminated from
the APSD Program for failure to comply with any of the conditions set
forth in the ASpp Program Contract, or with the conditions of pretrial
release, the latter having been found by the Court after a hearing
pursuant to Title 18, United States Code, Section 3148, the matter will
be set for presentence report and sentencing in the normal course of
business,

Defendant is aware of the right to a Speedy trial (within 70 days
of the filing of the Information) on these charges and expressly waives
that right. In addition, defendant stipulates that the time period from
the proffer of defendant’s plea of guilty until the conclusion of the
diversionary Proceedings is excludable time pursuant to 18 UMS cee BS
3161 (h) (2) and (7) (A).

Defendant agrees that if terminated from the APSD Program (either
voluntary or involuntary), defendant nevertheless has no right to
withdraw the plea.

Ge EARLY DISPOSITION (FAST-TRACK) PROGRAM
Le ee) PROGRAM

an early disposition (Fast-Track) Program authorized by the Attorney
General of the United States and the United States Attorney for the

Southern District of California.

In. return for the concessions made by the Government herein,

defendant agrees further as follows:

1. Defendant will not file any substantive motions
(including those described in Fed. R. Crim. P. 12, other
than motions seeking bail review); and

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Zs Upon the proffer of defendant’s guilty plea before the
Court, and not withstanding any preservation order(s)

entered by the Court, the Government need not hold or
preserve any evidence seized in connection with this
case, including but not limited to:
a. Any cellular device(s); and
b. Any vehicle(s).

34 After the proffer of defendant’s guilty plea before the
Court, defendant will not oppose any motion by the

Government to move that the Court lift or revoke any
preservation order.

dD. DISMISSAL OF THE REMAINING COUNTS

The Government agrees to (1) move to dismiss the remaining counts
(if any) without prejudice when defendant is sentenced, and (2) not
prosecute defendant thereafter on such dismissed charge(s) unless
defendant breaches the plea agreement or the guilty plea entered pursuant
to this plea agreement is set aside for any reason. If defendant breaches
this agreement or the guilty plea 4s set aside, Section XII below shall
apply.

EB. NO PROSECUTION ON THE MANDATORY MINIMUM COUNT

In exchange for defendant’s guilty plea and provided defendant
complies fully with all terms of this plea agreement, the Government
agrees not to charge defendant with additional counts in violation of 8
U.S.C. § 1324 (a) (2) (B) (11), which carries a mandatory minimum sentence.

II

NATURE OF THE OFFENSE

A. ELEMENTS EXPLAINED
The offense to which defendant is pleading guilty has the following

elements:

1. The person specified in the count was an alien.

2. The person specified in the count was not lawfully in the
United States.

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By Unless the Sentencing Court finds the defendant to be
indigent, an additional mandatory special assessment of
$5,000.00 per count;

E. A term of supervised release of not more than 3 years.
Defendant understands that failure to comply with any of the
conditions of supervised release may result in revocation of
supervised release, requiring defendant to serve in prison,
upon any such revocation, all or part of the statutory maximum
term of supervised release for the offense that resulted in
such term of supervised release; and

F Possible ineligibility for certain Federal benefits.
IV

DEFENDANT'S WAIVER OF TRIAL RIGHTS
AND UNDERSTANDING OF CONSEQUENCES

This guilty plea waives defendant's right at trial to:

A. Continue to plead not guilty and require the Government to
prove the elements of the crime beyond a reasonable doubt;

B. A speedy and public trial by jury;

Ci The assistance of counsel at all stages of trial;

D. Confront and cross-examine adverse witnesses;

Bos Testify and present evidence and to have witnesses testify on

behalf of defendant; and

F.. Not testify or have any adverse inferences drawn from the
failure to testify.

Vv

DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION

Any information establishing the factual innocence of defendant
known to the undersigned prosecutor in this case has been turned over
to defendant. The Government will continue to provide such information
establishing the factual innocence of defendant.

If this case proceeded to trial, the Government would be required
to provide impeachment information for its witnesses. In addition, if
defendant raised an affirmative defense, the Government would be

required to provide information in its possession that supports such a

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3. Defendant knew or acted in reckless disregard of the fact
that the person specified in the count was not lawfully
in the United States.

4, Defendant knowingly transported or moved the person
specified in the count in order to help that person remain
in the United States illegally.

B. ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

Defendant has fully discussed the facts of this case with defense

counsel. Defendant has committed each element of the crime and admits

that there is a factual basis for this guilty plea. The following facts

are true and undisputed:

lay

The crime

The person specified in the count was an alien, not a
citizen or national of the United States, and was not
lawfully in the United States.

Defendant knew, or acted in reckless disregard of the
fact, that the person specified in the count was not
lawfully in the United States.

Beginning on or about a date known and ending on or about
November 12, 2023, there was an agreement between two or
more persons to transport or move aliens to help them
remain in the United States illegally. Defendant along
with the codefendant joined in the agreement knowing of
its purpose and intending to help accomplish that
purpose. Both defendants knowingly transported or moved
the person specified in the count and were apprehended
near Jamal, California.

The person specified in the count was paying $10,000.00
to others to be brought into the United States illegally
and/or transported or moved illegally to their
destination therein.

IIL

PENALTIES

to which defendant is pleading guilty carries the

following penalties:

A. A maximum 5 years in prison;
B. A maximum $250,000.00 fine;
Gs A mandatory special assessment of $100.00 per count; w
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defense. By pleading guilty, defendant will not be provided this
information, if any, and defendant waives any right to this information.
Defendant will not attempt to withdraw the guilty plea or file a

collateral attack on the existence of this information.

VI

DEFENDANT’S REPRESENTATION THAT GUILTY
PLEA IS KNOWING AND VOLUNTARY

Defendant represents that:

A. Defendant has had a full opportunity to discuss all the facts
and circumstances of this case with defense counsel and has a
clear understanding of the charges and the consequences of
this plea. By pleading guilty, defendant may be giving up, and
rendered ineligible to receive, valuable government benefits
and civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
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Defendant to various collateral consequences, including but
not limited to revocation of probation, parole, or supervised
release in another case; debarment from government
contracting; and suspension or revocation of a professional
license, none of which can serve as grounds to withdraw
Defendant’s guilty plea;

B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
agreement or otherwise disclosed to the court;

Cc. No one has threatened defendant or defendant's family to
induce this guilty plea; and,

D. Defendant is pleading guilty because defendant is guilty and
for no other reason.
VII

AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE,
SOUTHERN DISTRICT OF CALIFORNIA

This plea agreement is limited to the United States Attorney's
Office for the Southern District of California, and cannot bind any
other authorities in any type of matter, although the Government will
bring this plea agreement to the attention of other authorities if
requested by defendant.

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VIII

APPLICABILITY OF SENTENCING GUIDELINES

The sentence imposed will be based on the factors set forth in
18 U.S.C. § 3553(a). In imposing the sentence, the sentencing judge
must consult the United States Sentencing Guidelines (Guidelines) and
take them into account. Defendant has discussed the Guidelines with
defense counsel and understands that the Guidelines are only advisory,
not mandatory. The Court may impose a sentence more severe or less
severe than otherwise applicable under the Guidelines, up to the maximum
in the statute of conviction. The sentence cannot be determined until
a presentence report is prepared by the U.S. Probation Office and defense
counsel and the Government have an opportunity to review and challenge

the presentence report. Defendant agrees to request that a presentence

report be prepared. Nothing in this plea agreement limits the

Government's duty to provide complete and accurate facts to the district
court and the U.S. Probation Office.
IX

SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

This plea agreement is made pursuant to Federal Rule of Criminal
Procedure 11(c) (1) (B). The sentence is within the sole discretion of
the sentencing judge who may impose the maximum sentence provided by
statute. It is uncertain at this time what defendant’s sentence will
be. The Government has not made and will not make any representation
as to what sentence defendant will receive. Any estimate of the probable

sentence by defense counsel is not a promise and is not binding on the

Court. Any recommendation made by the Government at sentencing is also

not binding on the Court. If the sentencing judge does not follow any

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conduct inconsistent with acceptance of responsibility including, but
not limited to, the following:
dis Fails to truthfully admit a complete factual basis as
stated in the plea at the time the plea is entered, or
falsely denies, or makes a statement inconsistent with,
the factual basis set forth in this agreement;

2s Falsely denies prior criminal conduct or convictions;

3. Is untruthful with the Government, the Court or probation
officer; or

4. Breaches this plea agreement in any way.

Cc. FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS
INCLUDING THOSE UNDER 18 U.S.C. § 3553

Defendant may request or recommend additional downward adjustments,
departures, or variances from the Sentencing Guidelines under 18 U.S.C.
§ 3553. The Government will oppose any downward adjustments, departures,

or variances not set forth in Section X, paragraph A above.

D. NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

The parties have no agreement as to defendant’s Criminal History
Category, except that, if defendant is determined to be a Career
Offender, the parties agree that defendant is automatically a Criminal
History Category VI pursuant to USSG § 4Bl1.1(b).

Ea “FACTUAL BASIS” AND “RELEVANT CONDUCT” INFORMATION

The facts in the “factual basis” paragraph of this agreement are
true and may be considered as “relevant conduct” under USSG § 1B1.3 and
as the nature and circumstances of the offense under 18 U.S.C.
§ 3553(a) (1).

RY. PARTIES’ RECOMMENDATIONS REGARDING CUSTODY

The Government agrees to recommend that defendant be sentenced to

the greater of: the low end of the advisory guideline range as calculated

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of the parties’ sentencing recommendations, defendant will not withdraw

the plea.
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PARTIES’ SENTENCING RECOMMENDATIONS
A. SENTENCING GUIDELINE CALCULATIONS

Although the Guidelines are only advisory and just one of the
factors the court will consider under 18 U.S.C. § 3553(a) in imposing a
sentence, the parties will jointly recommend the following Base Offense

Level, Specific Offense Characteristics, Adjustments and Departures:

line Base_Offense—Level—[USSG_§_ 2L1..1-(a)-(3)_] 12
2. Prior Immigration Felony [USSG § 2L1.1(b) (3)] *
3). Acceptance of Responsibility [USSG § 3B1.1] =2
4, Departure for Fast Track [USSG § 5K3.1] —2kk

*There is no agreement regarding defendant’s criminal history
category. However, if defendant has previously sustained a conviction
for a felony immigration and naturalization offense, the parties will
recommend a +2 adjustment, pursuant to USSG § 2L1.1(b) (3) (A). If
defendant has previously sustained two or more such felony immigration
convictions, the parties will recommend a +4 adjustment, pursuant to
USSG § 2L1.1(b) (3) (B).

*kThe Government reserves the right to reduce its recommended fast
track departure if defendant does not proceed to sentencing on the first
date set by the Court unless the parties agree to a continuance or
sentencing is continued on the Court’s own motion.

B. ACCEPTANCE OF RESPONSIBILITY

Despite paragraph A above, the Government need not recommend an

adjustment for Acceptance of Responsibility if defendant engages in

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by the Government, 90 days in custody, or the time served in custody at

the time of sentencing.

G. SPECIAL ASSESSMENTS AND FINE

The parties will jointly recommend that defendant pay a special
assessment in the amount of $100.00 per felony count of conviction to
be paid forthwith at time of sentencing.

In addition, unless the sentencing court finds defendant to be
indigent, the parties also will jointly recommend that defendant pay an
additional special assessment in the amount of $5,000 per count of
qualifying conviction, which shall not be payable until defendant
satisfies all outstanding fines, orders of restitution, and any other
obligation in this case related to victim-compensation. Special
assessments shall be paid through the office of the Clerk of the District
Court by bank or cashier’s check or money order made payable to the
“Clerk, United States District Court.”

The parties will not recommend imposition of a fine due to
defendant's limited financial prospects and because the cost of
collection, even taking into account the Inmate Responsibility Program,
likely would exceed the amounts that could reasonably be expected to be
collected.

H. SUPERVISED RELEASE

The Government is free to recommend a period of supervised release.
If the Court imposes a term of supervised release, defendant will not
seek to reduce or terminate early the term of supervised release until
defendant has served at least two-thirds of the term of supervised
release and has fully paid and satisfied any special assessments, fine,
criminal forfeiture judgment and restitution judgment.

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XI

DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

Defendant waives (gives up) all rights to appeal and to collaterally
attack every aspect of the conviction and sentence, including any
restitution order. This waiver includes, but is not limited to, any
argument that the statute of conviction or defendant’s prosecution is
unconstitutional and any argument that the facts of this case do not
constitute the crime charged. The only exceptions are 1) defendant may
appeal a custodial sentence above the high end of the guideline range
recommended by the Government at sentencing (if USSG § 5G1.1(b) applies,
the high end of the range will be the statutorily required mandatory
minimum sentence), and 2) defendant may collaterally attack the
conviction or sentence on the basis that defendant received ineffective
assistance of counsel. If defendant appeals, the Couermmant may support
on appeal the sentence or restitution order actually imposed.

XII

BREACH OF THE PLEA AGREEMENT

Defendant and defendant's attorney know the terms of this agreement
and shall raise, before the sentencing hearing is complete, any claim
that the Government has not complied with this agreement. Otherwise,
such claims shall be deemed waived (that is, deliberately not raised
despite awareness that the claim could be raised), cannot later be made
to any court, and if later made to a court, shall constitute a breach
of this agreement.

Defendant breaches this agreement if defendant violates or fails
to perform any obligation under this agreement. The following are non-

exhaustive examples of acts constituting a breach:

A. Failing to plead guilty pursuant to this agreement;

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or any charge(s) that the prosecution agreed to dismiss or not file as
part of this agreement, but later pursues because of a breach by the
Defendant. Additionally, defendant knowingly, voluntarily, and
intelligently waives any argument that the statements and any evidence
derived from the statements should be suppressed, cannot be used by the
Government, or are inadmissible under the United States Constitution,
any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f£) of
the Federal Rules of Criminal Procedure, and any other federal rule.
XIII

CONTENTS AND MODIFICATION OF AGREEMENT

This plea agreement embodies the entire agreement between the
parties and supersedes any other agreement, written or oral. No
modification of this plea agreement shall be effective unless in writing
signed by all parties.

XIV

DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

By signing this agreement, defendant certifies that Defendant has
read it (or that it has been read to defendant in defendant's native
language). Defendant has discussed the terms of this agreement with
defense counsel and fully understands its meaning and effect.

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B. Failing to fully accept responsibility as established in
Section X, paragraph B, above;

CG. Failing to appear in court;

D. Attempting to withdraw the plea;

E. Failing to abide by any court order related to this case;

F. Appealing (which occurs if a notice of appeal is filed) or

collaterally attacking the conviction or sentence in violation
of Section XI of this plea agreement; or

G. Engaging in additional criminal conduct from the time of
arrest until the time of sentencing.

If defendant breaches this plea agreement, defendant will not be
able to enforce any provisions, and the Government will be relieved of
all its obligations under this plea agreement. For example, the
Government may proceed to sentencing but recommend a different sentence
than what it agreed to recommend above. Or the Government may pursue any
charges including those that were dismissed, promised to be dismissed,
or not filed as a result of this agreement (defendant agrees that any
statute of limitations relating to such charges is tolled indefinitely
as of the date all parties have signed this agreement; defendant also
waives any double jeopardy defense to such charges). In addition, the
Government may move to set aside defendant’s guilty plea. Defendant may
not withdraw the guilty plea based on the Government’s pursuit of
remedies for defendant’s breach.

Additionally, if defendant breaches this plea agreement: (1) any
statements made by defendant, under oath, at the guilty plea hearing
(before either a Magistrate Judge or a District Judge); (11) the factual
basis statement in Section II.B in this agreement; and (iii) any evidence
derived from such statements, are admissible against defendant in any

prosecution of, or any action against, defendant. This includes the

prosecution of the charge(s) that is the subject of this plea
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XV

DEFENDANT SATISFIED WITH COUNSEL

Defendant has consulted with counsel and is satisfied with
counsel’s representation. This is defendant’s independent opinion, and

defendant’s counsel did not advise defendant about what to say in this

regard.
Respectfully submitted,
TARA K. MCGRATH
United States Attorney
11/15/2023 Grit O Mechoa..

DATED MARIETTA I. GECKOS
Assistant U.S. Attorney

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DATED ! MEAGAN NETTVES ~
Perens Counsel

IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
PENALTY OF PERJURY THAT THE FACTS IN THE “FACTUAL BASIS” PARAGRAPH ABOVE
ARE TRUE.

~“A3 Nfff777 Le

DATED NATHAN ALDO Le
Defendant

Approved by:

s/ Charlotte EF. Kaiser
CHARLOTTE E. KAISER
Assistant U.S. Attorney

8/16/2023 cek

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